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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND

 DAVID SYDNEY, et al., Individually and On
 Behalf of All Others Similarly Situated,              Case No.: 8:22cv1142-GLR

                                Plaintiffs,

        v.

 CEDAR REALTY TRUST, INC., et. al.,

                                Defendants.


  AFFIDAVIT OF DONALD J. ENRIGHT IN SUPPORT OF PLAINTIFFS’ MOTION
                FOR TEMPORARY RESTRAINING ORDER

I, Donald J. Enright, hereby declare as follows:

       1.       I am a partner of the law firm of Levi & Korsinsky, LLP (“Levi & Korsinsky”),

attorney for Plaintiffs David Sydney, SWC Phoenix Fund I, L.P, Martin Novick, J Renee Brennan

Living Trust, Scott Schroepfer, Kenneth Kamholz, Joe Speiser, and Elbert Capital I LLC in the

above-captioned action. I am admitted to practice before this Court, and have personal knowledge

of the matters set forth herein based on my day-to-day participation in the prosecution of this

Action. I submit this Affidavit in support of Plaintiffs’ Motion for Temporary Restraining Order.

       2.       Unless otherwise defined, capitalized terms herein have the same meaning as set

forth in the Memorandum of Law in Support of Plaintiffs’ Emergency Motion for Temporary

Restraining Order.

                                              EXHIBITS

       3.       Attached as Exhibit 1 is a copy of the Series C Articles Supplementary.

       4.       Attached as Exhibit 2 is a copy of the Series B Articles Supplementary.


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       5.       Attached as Exhibit 3 is a copy of the September 2021 Press Release.

       6.       Attached as Exhibit 4 is a copy of the March 2022 Cedar Form 8-K and the

document it attaches as Exhibit No. 99.1, Press Release dated March 2, 2022.

       7.       Attached as Exhibit 5 is a copy of the Wheeler Merger Agreement.

       8.       Attached as Exhibit 6 is a copy of the March 2022 Wheeler 8-K.

       9.       Attached as Exhibit 7 is a list of the properties included in the Grocery-Anchored

Transaction, and their performance characteristics.

       10.      Attached as Exhibit 8 is copy of the Cedar 2021 10-K.

       11.      Attached as Exhibit 9 is a copy of the Wheeler 2021 10-K.

       12.      Attached as Exhibit 10 is a copy of the Form 8-K filed with the SEC by Wheeler

bearing the date of report as December 23, 2020.

       13.      Attached as Exhibit 11 is a copy of the Form 10-K filed with the SEC by Wheeler

for the fiscal year December 31, 2020.

       14.      Attached as Exhibit 12 is a copy of the Form 10-Q filed with the SEC by Wheeler

for the quarterly period ended June 30, 2021.

       15.      Attached as Exhibit 13 is a copy of Wheeler’s August 23, 2021 Press Release.

       16.      Attached as Exhibit 14 is a copy of the Form 8-K filed with the SEC by Wheeler

bearing the date of report as November 3, 2021.

       17.      Attached as Exhibit 15 is a copy of the Wheeler January 2018 8-K.

       18.      Attached as Exhibit 16 is a copy of the Wheeler October 2019 14A.

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        19.    Attached as Exhibit 17 is a copy of Khoshaba Schedule 13D filed on December 14,

2021.

        20.    Attached as Exhibit 18 is a copy of the Wheeler December 2021 8-K.

        21.    Attached as Exhibit 19 is a copy of the Raymond James report.

        22.    Attached as Exhibit 20 is a copy of Google’s report of each of Cedar’s Preferred

Stock’s trading history.

        23.    Attached as Exhibit 21 is a copy of a report of Wheeler’s common stock trading

history from Nasdaq.com.

        24.    Attached as Exhibit 22 is a copy of Wheeler’s Schedule 14A Information Proxy

Statement filed on November 20, 2019.

        25.     Attached as Exhibit 23 is a list of the properties included in the Wheeler Merger,

and their performance characteristics.

        26.    Attached as Exhibit 24 is an excerpt of an article appearing on the GlobeSt.com

website, dated November 27, 2017, authored by Paul Bubny, and titled “Cedar Nixes Merger Bid

from Wheeler REIT.”

        27.    Attached as Exhibit 25 is a copy of Google’s report of Cedar’s Common Stock

Trading History.

        28.    Attached as Exhibit 26 is a copy of the Wheeler November 2019 Slideshow.

        29.    Attached as Exhibit 27 is a copy of Cedar’s Proxy filed on April 21, 2022.




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       30.    Attached as Exhibit 28 is a copy of the Cedar Prospectus Supplement to the

prospectus dated May 29, 2015.

       31.    Attached as Exhibit 29 is a copy of the document that Cedar submitted as an

attachment to the Form 8-K that Cedar filed with the SEC on May 5, 2022.

        32.    Attached as Exhibit 30 is a copy of the line that all Defendants except Wheeler filed

   on May 5, 2022 joining Plaintiffs’ Motion to Assign Case to Business & Technology Program.

       33.    Attached as Exhibit 31 is a copy of the line that Wheeler filed on May 6, 2022,

joining Plaintiffs’ Motion to Assign Case to Business & Technology Program.




       I solemnly affirm under the penalties of perjury that the contents of this document are true

   to the best of my knowledge, information, and belief. Executed on this 13th day of May, 2022.




                                                            Donald J. Enright
                                                            (Bar Number: 13551)
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                               CERTIFICATE OF SERVICE
      I hereby certify that on June 13, 2022, service required by Fed. R. Civ. P. 5(a) has been

made of the foregoing Affidavit of Donald J. Enright In Support of Plaintiffs’ Motion for

Temporary Restraining Order.

                                                                         /s/_Donald J. Enright
                                                                              (Bar. No. 13551)
